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MINUTE ENTRY
MORGAN, J.
September 27, 2018


                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 IN RE: RODI MARINE LLC                                             CIVIL ACTION

                                                                    NO. 17-5394

                                                                    SECTION: “E” (5)


      A status conference was held on September 27, 2018, at 1:00 p.m. in the chambers

of Judge Susie Morgan.

      Present:       Harry Morse and Martin Bohman, counsel for Petitioner,
                     Rodi Marine LLC; John Munoz, counsel for Claimant,
                     Antonio Smith; Eric Rhine (via telephone), counsel for
                     Claimant, Lionel Every, Jr.; James Bercaw, counsel for
                     Claimant, Fieldwood Energy LLC.

      The parties discussed the status of the case following oral argument on the cross

motions for summary judgment filed by Rodi Marine, LLC and Fieldwood Energy, LLC.

The Court instructed the parties that any motion for leave to amend the Complaint, Third

Party Complaint, or Answers to Complaints must be filed by no later than Thursday,

October 11, 2018.

      The Court clarified that the expert reports of Claimants and Fieldwood Energy,

LLC are due by no later than November 23, 2018 and that the expert reports of Plaintiff

are due by no later than December 24, 2018.

      Counsel for Plaintiff agreed to be responsible for assembling the pretrial order. The

Court reminded the parties to schedule a settlement conference immediately with




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Magistrate Judge North to take place not later than two weeks prior to the pretrial

conference. The parties shall comply with the deadlines below:

 Initial disclosures                                Initial disclosures pursuant to
                                                    Fed. R. Civ. P. 26(a)(1) have
                                                    been completed.
 Amendments to pleadings, third-party actions,      Filed and served no later than July
 cross-claims, and counterclaims                    30, 2018
 Status conference                                  September 27, 2018 at 1:00
                                                    p.m.
 Claimants’ and Fieldwood Energy, LLC’s             Delivered to plaintiff’s counsel by
 expert reports                                     November 23, 2018
 Plaintiff’s expert reports                         Delivered to opposing counsel by
                                                    December 24, 2018
 Witness lists                                      Filed and served upon opponents
                                                    by December 24, 2018
 Each witness must be identified by name and
 address. The listing of a witness as a
 representative of an entity is not sufficient

 See pretrial notice at p. 7
 Exhibit lists                                      Filed and served upon opponents
                                                    by December 24, 2018
 Each exhibit must be listed with specificity and
 be Bates numbered. Broad, general categories
 of exhibits are not sufficient

 See pretrial notice at pp. 5-6
 Depositions and discovery                          Completed by January 15, 2019

 Failure to comply with this order may
 result in sanctions pursuant to Rule 37
 Non-evidentiary pretrial motions and motions       Filed and served no later than
 in limine regarding the admissibility of expert    January 22, 2019
 testimony                                          (in sufficient time to permit a
                                                    submission date on or before
 See Scheduling Order at p. 3 regarding             February 6, 2019)
 the format of depositions



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Responses/oppositions to non-evidentiary              Filed and served no later than
pretrial motions and motions in limine                January 29, 2019
regarding the admissibility of expert testimony
Pretrial order (assembled by counsel for              Filed by February 11, 2019 at
Plaintiff)                                            5:00 p.m.

Any exhibits to be used solely for
impeachment must be presented to the
Court for in camera review by this
deadline. See Section IX.10.b of the
pretrial notice
Pretrial conference                                   February 14, 2019 at 3:00 p.m.

Attended by lead attorney. (See Local
Rule 11.2)
Final list of witnesses who will be called at trial   Filed no later than February 22,
                                                      2019 at 5:00 p.m.
Motions in limine (other than those regarding         Filed no later than March 7, 2019
the admissibility of expert testimony) and            at 5:00 p.m.
memoranda in support
Responses to motions in limine                        Filed by March 14, 2019 at 5:00
                                                      p.m.
Summary of what each party intends to prove           Filed by March 18, 2019 at 5:00
and convey to the Court by deposition                 p.m.
testimony, along with references to deposition
page and line numbers on which each party
shall rely, in proving their respective cases
(deposition transcripts should also be
submitted at this time)

See pretrial notice at pp. 6-7
Suggested findings of fact and conclusions of         Filed and emailed to the Court by
law                                                   March 18, 2019 at 5:00 p.m.

See pretrial notice at pp. 8-9

Trial memoranda                                       Filed by March 18, 2019 at 5:00
                                                      p.m.
See pretrial notice at pp. 8-9




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Objections to exhibits                            Filed by March 18, 2019 at 5:00
                                                  p.m.
Note: Each objection must identify the
relevant objected-to exhibit by the number
assigned to the exhibit in the joint bench
book(s).

See pretrial notice at p. 5
Two copies of joint bench book(s) of tabbed       Delivered to the Court by March
exhibits, with indices of "objected-to" and       18, 2019 at 5:00 p.m.
"unobjected-to" exhibits, identifying which
party will offer each exhibit and which witness
will testify regarding the exhibit at trial

See pretrial notice at pp. 5-6
Objections to portions of deposition testimony    Filed by March 18, 2019 at 5:00
to be offered into evidence                       p.m.

See pretrial notice at p. 6 with particular
attention to instructions regarding the
format of depositions.
Responses to objections to exhibits               Filed by March 20, 2019 at 5:00
                                                  p.m.
See pretrial notice at p. 5
Responses to objections to deposition             Filed by March 20, 2019 at 5:00
testimony                                         p.m.

See pretrial notice at p. 6
If counsel intends to ask questions on cross-     The factual elements of such
examination of an economic expert which           questions shall be submitted to the
require mathematical calculations                 expert witness by March 20, 2019
                                                  at 5:00 p.m.
See pretrial notice at p. 7




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Bench trial                                      March 25, 2019 at 9:00 a.m.

Whenever a case is settled or otherwise disposed (estimated to last 6 days)
of, counsel must immediately inform the clerk's
office, judge to whom the case is allotted, and all
persons subpoenaed as witnesses. If a case is
settled as to fewer than all parties or all claims,
counsel must also identify the remaining parties
and unsettled claims.

See Local Rule 16.4


     New Orleans, Louisiana, this 28th day of September, 2018.


                                       _____________ _______ ______
                                               SUSIE MORGAN
                                       UNITED STATES DISTRICT JUDGE




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